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                             UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA


 IN RE: ROUNDUP PRODUCTS                        MDL No. 2741
 LIABILITY LITIGATION
                                                Case No. 3:16-md-02741-VC

 This document relates to:                      MONSANTO COMPANY’S MOTION TO
                                                DISMISS
 Jonas Perez-Hernandez v. Monsanto Co.,
 Case No. 3:23-cv-04946-VC                      Date:    Feb. 15, 2024
                                                Time:    10:00 a.m.
                                                Place:   San Francisco, Courtroom 4, 17th Floor
                                                Judge:   Hon. Vince G. Chhabria

       PLEASE TAKE NOTICE THAT on February 15, 2024, at 10:00 a.m., or at such other

time as the matter may be heard, in the courtroom of the Honorable Vince Chhabria, at the San

Francisco Courthouse, Courtroom 4 – 17th Floor, 450 Golden Gate Avenue, San Francisco, CA

94102, defendant Monsanto Company will, and hereby does, move to dismiss Plaintiffs’

Complaint with prejudice.

       Monsanto Company seeks an order dismissing Plaintiffs’ Complaint with prejudice under

Federal Rules of Civil Procedure 12(b)(1), 12(b)(3), and 12(b)(6). This motion is based on the

accompanying memorandum of points and authorities, Monsanto Company’s forthcoming reply

brief, arguments of counsel, and such other matters as may be considered.
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                                       INTRODUCTION
       This Court well knows the history of the various Roundup® cases. This case is a new

attempt to recycle similar allegations into a nationwide class action. Plaintiffs are dramatically

overreaching.

       They filed in the wrong venue—they do not allege that they reside nor were exposed to

Roundup® products in this district.       They name Defendants over whom the Court lacks

jurisdiction. They assert claims for which there is no legal basis and for which Plaintiffs lack

standing. And somehow, Plaintiffs claim that facts their own counsel has publicly litigated for

years and that have been widely discussed in the media were “concealed.” Yet despite seeking

damages for personal injury, economic losses, and medical monitoring, Plaintiffs could not even

be bothered to allege whether they have ever purchased any Roundup® products, the

circumstances or extent of their alleged exposure, any economic losses they have suffered, or any

facts suggesting that they have suffered any personal injury. The Court should dismiss their

Complaint.

                                  FACTUAL BACKGROUND

       Monsanto Company is a Delaware corporation with its headquarters and principal place of

business in Missouri. Compl. ¶ 21. Bayer Corporation is an Indiana corporation, with its

headquarters and principal place of business in New Jersey. Id. ¶ 21. The Complaint alleges that

Bayer Corp. is the “direct parent” of Monsanto (id.), but that allegation is not correct and without

good-faith basis. See Declaration of Keith Abrams ¶ 7 (“Abrams Decl.”) (filed concurrently

herewith). Bayer AG has not been served,1 but it is incorporated and has its principal place of

business in Germany. Compl. ¶ 19.

       The Complaint’s only non-conclusory factual allegations regarding Plaintiffs are that each

is a California resident and was “exposed to Roundup® products over a period [of years ranging

1
  Plaintiffs filed a return of service for Bayer AG, which purports to evidence service via a
registered agent for Bayer AG in New Jersey. Dkt. No. 9. But Bayer AG is a German company
with no registered agent for service in the United States. See Abram Decl. ¶ 5.


                                                 1
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from 9 to 19 years depending on the Plaintiff] in San Luis Obispo, California.” Compl. ¶¶ 14-18.

Plaintiffs do not allege:
    •   that they have a connection with the Northern District of California (San Luis Obispo is in
        the Central District);
    •   which of the dozens of Roundup® brand products listed in the Complaint (see id. ¶ 22)
        they were allegedly exposed to;
    •   the nature, extent, and circumstances of their alleged exposure to Roundup® products;
    •   whether and to what extent they were exposed to other herbicides (including both non-
        glyphosate-based products and glyphosate-based products not manufactured or labeled by
        Defendants), pesticides, or other allegedly toxic chemicals during the same period;
    •   that they have been diagnosed with NHL, any other form of cancer, or any other disease or
        condition allegedly caused by Roundup® products;
    •   that any medical professional has recommended that they should be monitored for any
        disease or condition allegedly caused by Roundup® products;
    •   that they have ever purchased any Roundup® product(s) and, if so, which product(s), or
        when, where, or from whom they were purchased;
    •   which specific alleged misstatements or false advertising, if any, they allegedly saw, read,
        or relied on;
    •   what specific express warranties were allegedly made for the products they used; or
    •   that any of them have ever incurred any economic cost of any kind—whether medical
        expenses, sick leave, purchase price, or anything else—resulting from exposure to
        Roundup® products.

        Plaintiffs allege essentially four kinds of supposed injury for which they are seeking to

recover: (1) personal injury from NHL (e.g., id. ¶¶ 9, 92, 121-22, 142-44, 152-53, 190, 192, 201,

Prayer ¶¶ 2-3); (2) unspecific economic losses (e.g., id. ¶¶ 122, 144, 162, 172, 182, 192, 201, 207,

209, Prayer ¶¶ 2-3); (3) future medical monitoring (e.g., id. ¶¶ 122, 144, 214, Prayer ¶ 4); and

(4) other prospective injuries to be addressed with injunctive relief (e.g., id. ¶¶ 122, 144, 214,

Prayer ¶ 4). But Plaintiffs allege no facts showing that they have suffered such injuries.

        The Complaint cites several bases for its assertion that Roundup® products are

carcinogenic. Importantly to Plaintiffs’ claim for equitable tolling (Compl. ¶¶ 83-89), however,

the facts Plaintiffs allege have not only been publicly available, but highly publicized, for many

years. For example, Plaintiffs cite several studies they claim show that “glyphosate and/or

                                                 2
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Roundup®” can cause NHL (ignoring hundreds of other studies, as well as the contrary

conclusions of regulators around the world). Compl. ¶ 39. But the studies Plaintiffs cite have

always been publicly available—printed in “published peer-reviewed studies.” Id. ¶ 43. Plaintiffs

also cite to the 2015 IARC monograph on glyphosate. Id. ¶ 41. The IARC monograph, however,

has been publicly available since it was first published in 2015 and widely covered by major media

sources. See, e.g., Declaration of Jeff Wilkerson (“Wilkerson Decl.”) Exs. M (Mar. 27, 2015 Wall

Street Journal article noting IARC’s “classification last week of glyphosate—which Monsanto

sells under the Roundup brand—as likely having the potential to cause cancer in humans”), O

(Mar. 20, 2015 Associated Press article titled “Popular weed killer deemed probable carcinogen

by UN”). The Complaint also relies on a handful of internal Monsanto emails that Plaintiffs allege

show that Monsanto was “undermining” efforts to test glyphosate’s carcinogenicity and “ghost-

writing” scientific literature. Id. ¶¶ 46-70. But as this Court (and Plaintiffs’ counsel) knows, the

emails they cite were publicly released (including by this Court) and widely publicized in 2017 as

part of the “Monsanto Papers” disclosure of hundreds of company documents, covered by major

media outlets like the Wall Street Journal and the New York Times.2

       More broadly, plaintiffs’ attorneys (including Plaintiffs’ counsel) have filed tens of

thousands of cases since 2015 alleging that Roundup® products are carcinogenic, many in this

highly publicized MDL established in 2016 (more than seven years ago).3 The complaints in those



2
  See, e.g., Ex. A (9/16/99 e-mail from William Heydens to Mark Martens, et al. at Dkt. No. 192-
7 in MDL No. 2741 (N.D. Cal. Mar. 15, 2017)); Ex. L (Mar. 15, 2017 Wall Street Journal article
titled “Regulation of Monsanto’s ‘Roundup’ Herbicide Called Into Question by Emails”); Ex. J
(Aug. 1, 2017 New York Times article titled “Monsanto Emails Raise Issue of Influencing
Research on Roundup Weed Killer”).
3
 See, e.g., Ex. Z (Complaint for Damages ¶ 2, Rolish v. Monsanto Company, No. 2:20-CV-01340
(C.D. Cal. Feb. 10, 2020) (Joseph Saveri Law Firm) (alleging that California and IARC “have
recognized that the chemicals in Roundup® are likely to cause cancer in humans”); Ex. AA (First
Amended Class Action Complaint ¶ 1, Ramirez v. Monsanto Company, MDL No. 2741, No. 3:19-
cv-02224 (June 24, 2020) (Robert L. Lieff) (alleging that “scientific evidence” “linked exposure
to Defendant’s Roundup® herbicide—including its active ingredient, glyphosate, alone and/or in
combination with other Roundup® ingredients—to Non-Hodgkin’s Lymphoma (‘NHL’)”).

                                                 3
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cases often cite the same documents Plaintiffs rely on.4 Moreover, plaintiffs’ attorneys have, in

pursuit of those cases, spent hundreds of millions of dollars during that same time advertising to

the public that Roundup® products are carcinogenic.5

                                     LEGAL STANDARDS

       Upon a motion to dismiss for improper venue under Rule 12(b)(3), the plaintiff bears the

burden of showing that venue is proper. Piedmont Label Co. v. Sun Garden Packing Co., 598 F.2d

491, 496 (9th Cir. 1979). Courts can consider facts outside the pleadings to determine whether

venue is proper. Murphy v. Schneider Nat’l, Inc., 362 F.3d 1133, 1138 (9th Cir. 2004).

       A Rule 12(b)(6) motion “tests the legal sufficiency of a claim.” Navarro v. Block, 250 F.3d

729, 732 (9th Cir. 2001). The court “accepts as true all well-pled factual allegations” and

determines whether they allow the court “to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Bohren v. San Jose Police Dept., 2022 WL 834320, at *1 (N.D.

Cal. Mar. 21, 2022). But courts do not “accept as true allegations that contradict matter properly

subject to judicial notice” or that “are merely conclusory, unwarranted deductions of fact, or

unreasonable inferences.” In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir. 2008).

                                          ARGUMENT
I.     VENUE IS NOT PROPER IN THIS DISTRICT.
       A.      Venue Is Improper Under § 391(b)(1).
       Venue is improper in this district. For venue to be proper under § 1391(b)(1), Plaintiffs

must show that (1) at least one Defendant resides in this district, and (2) all Defendants reside in

the state of California. 28 U.S.C § 1391(b)(1); Edelson PC v. Lira, 2022 WL 17404299, at *3



4
  See, e.g., Ex. BB (Complaint ¶¶ 18-35, Applegate v. Monsanto Company, No. 3:18-cv-03363-
CV, 2018 U.S. Dist. Ct. Pleadings LEXIS 28521 (N.D. Cal. Jan. 17, 2018) (citing internal e-mails
similar or identical to those cited by Plaintiffs)).
5
 See, e.g., Ex. U (12/20/17 blog post by law firm Wisner Baum titled “50 San Francisco Roundup
Lawsuits Filed Against Monsanto”); Ex. W (Oct. 10, 2019, Texans for Law Reform article titled
“Seeing All Those Roundup Commercials? That’s Because Lawyers Have Spent $60M on Them
This Year”).

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(N.D. Cal. Dec. 2, 2022) (“Venue is not proper under Section 1391(b)(1) because not all

Defendants reside in California.”). Plaintiffs cannot make this showing for two reasons.

        First, Bayer Corp. does not reside in California. Abrams Decl. ¶ 4. A corporate defendant

“resides” in a state for venue purposes in any district where it is “subject to the court’s personal

jurisdiction with respect to the civil action in question.” § 1391(c). As explained in Bayer Corp.’s

concurrent motion to dismiss for lack of personal jurisdiction (incorporated here by reference),

Bayer Corp. is not subject to personal jurisdiction in California. Venue under § 1391(b)(1) is thus

improper.

        Second, even if Bayer Corp. did “reside” in California, neither Monsanto nor Bayer Corp.

reside in this district. Per § 1391(d), in a state with multiple judicial districts (like California), a

corporate defendant resides in a district where it is subject to personal jurisdiction only if “its

contacts would be sufficient to subject it to personal jurisdiction if that district were a separate

state.” Pitt v. Metro. Tower Life Ins., 2020 WL 1557429, at *3 (N.D. Cal. Apr. 1, 2020) (quoting

§ 1391(d)). There is no general personal jurisdiction over either Monsanto or Bayer Corp. in this

district because neither is incorporated nor has its principal place of business in this district, and

Plaintiffs do not allege facts showing that either company is “essentially at home” in this district.

See Daimler AG v. Bauman, 571 U.S. 117, 139 (2014).

        Nor is there specific personal jurisdiction treating this district as a separate state because,

even if Monsanto’s sale and marketing of Roundup® products in this district could be imputed to

Bayer Corp. (and it cannot), those contacts are not “case-linked.” See Ford Motor Co. v. Montana

Eighth Jud. Court, 592 U.S. ----, 141 S. Ct. 1017, 1025 (2021). That is, Plaintiffs allege no facts

suggesting that their claims arise out of any Defendants’ contacts with this district. See id.

(plaintiffs must show that their claims “arise out of or relate to the defendant’s contacts with the

forum”) (quoting Bristol-Myers Squibb Co. v. Super. Ct. of Cal., 582 U.S. 255, 262 (2017)).

Plaintiffs do not allege they bought any Roundup® products in this district, viewed any advertising

and marketing in this district, or were exposed to any Roundup® products in this district. And



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they have alleged nothing suggesting that their alleged exposure to Roundup® products in San

Luis Obispo (Compl. ¶¶ 14-18) relates in any way to contacts with this district.
        B.          Venue Is Improper Under § 1391(b)(2).
        Venue is proper under § 1391(b)(2) only if Plaintiffs show that a “substantial part of the

events or omissions” giving rise to their claims occurred in this district. See Crosscode Inc. v.

Sharma, 2020 WL 1031266, at *2 (N.D. Cal. Mar. 3, 2020) (Chhabria, J.). To make this

determination, “the court first considers what acts or omissions by the defendants give rise to the

plaintiffs’ claims.” Saravia v. Sessions, 280 F. Supp. 3d 1168, 1189 (N.D. Cal. Nov. 20, 2017)

(Chhabria, J.) (quoting United Tactical Sys. LLC v. Real Action Paintball, Inc., 108 F. Supp. 3d

733, 752 (N.D. Cal. 2015)). The court then determines whether a substantial part of those acts

took place in the forum. Id. Plaintiffs cannot show the required “substantial” events or omission

in this district.

        Plaintiffs allege in conclusory fashion that Defendants engaged in wrongful acts related to

their use and exposure to Roundup® products in California. Compl. ¶ 13. But they allege no facts

related to their claims that supposedly occurred in this district. Rather, the primary events giving

rise to Plaintiffs’ claims—their alleged exposure to Roundup® products—are alleged to have taken

place in San Luis Obispo. Compl. ¶¶ 14–18. They thus have not alleged “significant events or

omissions” in this district that are “material” to their claims. Saravia, 280 F. Supp. 3d at 1191.
II.     PLAINTIFFS LACK ARTICLE III STANDING.
        Article III standing requires an injury in fact, fairly traceable to the defendant’s actions,

and likely redressable by a favorable decision. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61

(1992). Plaintiffs must establish standing “with the manner and degree of evidence required at the

successive stages of the litigation.” WildEarth Guardians v. United States Forest Serv., 70 F.4th

1212, 1215 (9th Cir. 2023) (quoting Lujan, 504 U.S. at 561). “At the pleading stage, plaintiffs

must ‘clearly . . . allege facts demonstrating each element.’” Winsor v. Sequoia Benefits & Ins.

Servs., LLC, 62 F.4th 517, 523 (9th Cir. 2023) (quoting Spokeo, Inc. v. Robins, 578 U.S. 330, 338

(2016)) (alteration in original). These requirements apply equally to named plaintiffs in a putative

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class action, who must “show that they personally have been injured.” Winsor, 62 F.4th at 523.

And standing is not dispensed “in gross.” Plaintiffs instead must demonstrate standing for each of

their claims and for “each form of relief that is sought.” Davis v. FEC, 554 U.S. 724, 734 (2008).

       Plaintiffs here fail to allege facts showing that they have suffered the four injuries alleged

in the Complaint.

       Personal Injuries. Plaintiffs appear to be asserting claims for personal injuries arising

from NHL, and they also vaguely allude to other diseases allegedly caused by the products. But

Plaintiffs do not allege any facts showing that they have NHL or any other disease or condition

allegedly caused by Roundup® products. Nor do they allege any basis to conclude that any of

them have any “certainly impending” diagnosis of NHL or any other relevant health condition.

See Pinkert v. Schwab Charitable Fund, 48 F.4th 1051, 1055 (9th Cir. 2022) (failure to allege past

injury of any “certainly impending” future injury undermined standing) (quoting Clapper v.

Amnesty Int’l, 568 U.S. 398, 409 (2013)). Plaintiffs thus lack standing to assert personal injury.

       Economic Losses. The Complaint seeks damages for “economic losses,” “ascertainable

losses,” “out-of-pocket costs,” and other unspecified economic injuries, but Plaintiffs allege no

facts suggesting they suffered any such injury. They do not allege that they incurred costs of any

kind associated with the use or purchase of Roundup® products. They do not even plead that any

of them have ever bought any Roundup® product. And even if they had, they do not allege a price

premium, so the mere fact of purchase would not show any injury. They also do not allege that

they incurred medical costs or loss of income. Cf. Winsor, 62 F.4th at 524 (holding that plaintiffs

lacked standing where they did not show that defendants’ “alleged breach of fiduciary duty led to

plaintiffs paying higher contributions”). They thus lack standing to assert any economic injury.

       Medical Monitoring. Plaintiffs also lack standing to pursue a medical-monitoring remedy

because, as discussed below, they have not alleged facts showing that the need for medical

monitoring is a reasonably certain consequence of their alleged exposure to Roundup®. See Potter

v. Firestone Tire & Rubber Co., 6 Cal. 4th 965, 1006 (1993). They do not allege “the significance

and extent” of any Plaintiff’s exposure to Roundup. See id. Nor do they do allege anything at all

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about any Plaintiff’s baseline risk of developing NHL or other health effects absent exposure to

Roundup® products, including what other risk factors they may have. See id. Nor do they allege

the “clinical value of early detection” of NHL. See id. Instead, Plaintiffs merely assert that they

seek medical monitoring to “prevent or mitigate the injury otherwise resulting from Roundup

exposure.” Compl. ¶ 216. Such conclusory allegations fail to establish a “credible and substantial”

risk of harm sufficient to establish standing. Riva v. Pepsico, Inc., 82 F. Supp. 3d 1045, 1053,

1055-64 (N.D. Cal. 2015).

       Equitable Relief. Plaintiffs do not allege any ongoing injury that would entitle them to

any other type of equitable or injunctive relief. To the contrary, they allege that, had they known

the “truth” about Roundup® products, they “could have avoided the risk of developing injuries”

and “could have obtained alternative herbicides.” Compl. ¶ 143. But they claim to know this

“truth” now, so they face no future risk of continuing to apply Roundup® products. Thus,

accepting Plaintiffs’ allegations, they will never “again be wronged in a similar way.” Davidson

v. Kimberly-Clark Corp., 889 F.3d 956, 967 (9th Cir. 2018). They thus lack standing to pursue

injunctive relief. Matic v. U.S. Nutrition, Inc., 2019 WL 3084335, at *8 (C.D. Cal. Mar. 27, 2019).
III.   PLAINTIFFS HAVE NOT ADEQUATELY PLEADED EQUITABLE TOLLING.
       Without a basis to toll the statute of limitations, many of Plaintiffs’ claims are time-barred.

As one example, Plaintiffs’ UCL claim could not survive to the extent it is based on purchases of

Roundup® products more than four years before the complaint was filed. See Cal. Bus. & Prof.

Code § 17208. Plaintiffs, who allege exposure going back more than a decade, try to avoid this

issue with equitable tolling, and specifically via “the discovery rule and/or the doctrine of

fraudulent concealment.” Compl. ¶ 89. They claim they were “unaware, and could not reasonably

know or have learned through reasonable diligence” of the risks they allege. Compl. ¶¶ 83-89.

They are wrong.

       Plaintiffs bear the burden of both “pleading and proving” fraudulent concealment. In re

Animation Workers Antitrust Litig., 123 F. Supp. 3d 1175, 1194 (N.D. Cal. 2015). The doctrine

applies only when, among other things, a plaintiff lacks knowledge or constructive knowledge of

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the underlying facts. Lynwood Invs. CY Ltd. v. Konovalov, 2022 WL 3370795, at *10 (N.D. Cal.

Aug. 16, 2022) (collecting cases). The “knowledge” required (actual or constructive) is only

knowledge of a “fact that should excite suspicion.” Id. (“[A]ny fact that should excite [plaintiff’s]

suspicion is the same as actual knowledge of his entire claim.”) (quoting Conmar Corp. v. Mitsui

& Co. (USA), 858 F.2d 499, 502 (9th Cir. 1988)). And a plaintiff must lack that knowledge despite

acting “diligently in trying to uncover the facts giving rise to [their] claim.” Animation Workers,

123 F. Supp. 3d at 1194 (collecting cases).

       Likewise, under the discovery rule, the limitations period begins to run when the plaintiff

“suspects or should suspect that her injury was caused by wrongdoing.” O’Connor v. Boeing N.

Am., Inc., 311 F.3d 1139, 1147-49 (9th Cir. 2022). This requires only suspicion, not knowledge.

Id. (citing Jolly v. Eli Lilly & Co., 44 Cal.3d 1103, 1110 (1988)). And again, this does not require

actual suspicion, but rather that, “despite diligent investigation of the circumstances of the injury,

[plaintiff] could not have reasonably discovered facts supporting the cause of action.” Dent v.

Nat’l Football League, 2021 WL 5987260, at *4 (N.D. Cal. Dec. 17, 2021) (emphasis added).

       Plaintiffs do not and cannot possibly meet these requirements. This Court has presided

over thousands upon thousands of cases alleging the same theory of carcinogenicity since 2016—

so the suggestion that Plaintiffs could not have even “suspected” a basis for a claim until a few

months ago (even with “diligent investigation”) is not just baseless, it is almost absurd. Again, the

facts Plaintiffs rely on have been publicly available and highly publicized for years. The studies

Plaintiffs cite, by their own admission, were printed in publicly available journals. Compl. ¶ 43.

The IARC monograph was likewise publicly released and covered heavily by the nation’s largest

news sources. Wilkerson Decl. Exs. M-R. The emails Plaintiffs cite were publicly released in

2017, accompanied by nationwide press. Id. Exs. J-L, N. And their theory of carcinogenicity has

been covered by major media for nearly a decade, widely advertised by plaintiffs’ lawyers

(including their own counsel), and previously asserted by thousands upon thousands of other

plaintiffs. Id. Exs. X, Y.
IV.    PLAINTIFFS’ PURPORTED MEDICAL MONITORING CLAIM FAILS.

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        Count XI asserts a stand-alone cause of action for medical monitoring. Compl. ¶ 216. But

California law does not recognize such a cause of action. And Plaintiffs do not plead facts that

would permit a medical-monitoring remedy in any event. The Court should dismiss this claim.

        A.      California Does Not Recognize a Cause of Action for Medical Monitoring.

        Plaintiffs plead a standalone claim for medical monitoring. But while California law

allows recovery of medical monitoring costs, upon a proper showing, as a remedy, medical

monitoring is not a “new tort.” Potter v. Firestone Tire & Rubber Co., 6 Cal. 4th 965, 974 (1993);

see also Lockheed Martin Corp. v. Super. Court, 29 Cal. 4th 1096, 1105 (2003) (same). Instead,

it is “simply a compensable item of damage when liability is established under traditional tort

theories of recovery.” Id. This Court has recognized as much in a similar case. Ramirez v.

Monsanto Co., No. 3:16-02741, Dkt. No. 104 (N.D. Cal. Aug. 8, 2022) (Chhabria, J.) (dismissing

medical-monitoring claim because “California law does not recognize a standalone claim for

medical monitoring”). And this case is materially indistinguishable. Plaintiffs’ standalone

medical-monitoring claim thus “must fall.” San Diego Gas & Elec. Co. v. Super. Ct., 13 Cal. 4th

893, 914 n.18 (1996); Xavier v. Philip Morris USA Inc., 2010 WL 3956860, at *3 (N.D. Cal. 2010).
        B.      Plaintiffs Fail fo Plead Facts that Would Permit a Medical Monitoring
                Remedy.
        To be entitled to a medical-monitoring remedy, a California plaintiff must show “that the

need for future monitoring is a reasonably certain consequence of the plaintiff’s toxic exposure
and that the recommended monitoring is reasonable.” Potter, 6 Cal. 4th at 974. Five enumerated

factors drive this determination: (1) the significance and extent of the plaintiff’s exposure to

chemicals; (2) the toxicity of the chemicals; (3) the relative increase in the chance of onset of

disease in the exposed plaintiff as a result of the exposure, when compared to (a) the plaintiff’s

chances of developing the disease had he or she not been exposed, and (b) the chances of the

members of the public at large of developing the disease; (4) the seriousness of the disease for

which the plaintiff is at risk; and (5) the clinical value of early detection and diagnosis. Id. at 1009.

Although these are ultimately evidentiary burdens, Plaintiffs must plead facts that, if true, could


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meet these burdens. See, e.g., Riva, 82 F. Supp. 3d 1045, 1056-62 (dismissing medical-monitoring

claim where plaintiffs had not pleaded facts addressing the first through third factors); Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (a plaintiff must allege “factual content that allows the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged.”).

       Here, Plaintiffs do not plead facts that address the first, third, or fifth of the Potter factors.

They allege nothing at all about the nature or extent of their exposure to Roundup® products other

than that it occurred over several years in San Luis Obispo. Compl. ¶¶ 14-18. They thus have not

explained how many times they were exposed, at what levels, or made any effort to tie their levels

of exposure to the levels in the studies they cite (putting aside that those studies are themselves

flawed). In fact, they do not even allege the manner or levels of exposure in the studies they cite.

See Compl. ¶¶ 39-45. That alone requires dismissal. See Riva, 82 F. Supp. 3d at 1057-58.

       Plaintiffs also have not pleaded facts regarding their risk of developing NHL (or any other

relevant disease) as compared to their “chances of developing the disease had [they] not been

exposed,” nor as compared to “members of the public at large.” Potter, 6 Cal. 4th at 1009. As to

their own background risk of developing NHL, for example, Plaintiffs do not allege whether they

were exposed to non-Roundup® glyphosate-based products or, if so, whether or how they can

show that their additional exposure to Roundup®-brand products increased any risk of developing

NHL. Nor do they allege whether they were exposed to other, non-glyphosate agricultural

chemicals or pesticides and, if so, how their alleged exposure to Roundup® products increased

their risk of developing NHL in light of these other exposures. Nor do they allege any basis to

conclude that their exposure to Roundup® products (whatever it was and in what manner)

meaningfully increased their risk of NHL as compared to “members of the public at large.” To

the contrary, they have alleged that “glyphosate [is] omnipresent in the United States” and that

“80% of urine samples among U.S. children and adults contain glyphosate.” Compl. ¶¶ 81-82.

But if that is true, they must show that their exposure has somehow increased their risk of NHL as

compared to the general public, and again, they have not described their alleged exposure at all.



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       Finally, Plaintiffs have alleged nothing at all about the clinical value of early detection and

diagnosis. While they assert that they are seeking medical monitoring to “prevent or mitigate the

injury otherwise resulting from Roundup exposure,” Compl. ¶ 217, they do not allege any facts

showing that such medical monitoring in fact could “prevent or mitigate” any such injury.
V.     PLAINTIFFS HAVE NOT STATED AN EXPRESS-WARRANTY CLAIM.
       Plaintiffs never identify the alleged “express warranties” on which they are suing—stating

only that Defendants “made several express warranties.” See Compl. ¶¶ 155-63. But California

law requires plaintiffs to plead “the exact terms of the warranty.” T&M Solar & Air Cond., Inc. v.

Lennox Int’l Inc., 83 F. Supp. 3d 855, 875 (N.D. Cal. 2015). Plaintiffs therefore should have

pleaded “‘specifics’ about what the warranty statement was, and how and when it was breached.”

Id. Because Plaintiffs have made no such allegations, their express-warranty claim fails.

       Plaintiffs also do not allege that they gave pre-suit notice to Defendants of the alleged

breach of express warranties, requiring dismissal. “To avoid dismissal of a breach of contract or

breach of warranty claim in California, ‘[a] buyer must plead that notice of the alleged breach was

provided to the seller within a reasonable time after discovery of the breach.’” Alvarez v. Chevron

Corp., 656 F.3d 925, 932 (9th Cir. 2011) (quoting Stearns v. Select Comfort Retail Corp., 763

F.Supp. 2d 1128, 1142 (N.D. Cal. 2010)). Plaintiffs do not allege in even conclusory fashion that

they gave this required notice. Compl. ¶¶ 155-63.
VI.    PLAINTIFFS HAVE NOT STATED AN IMPLIED-WARRANTY CLAIM.
       Although Plaintiffs assert that they can bring a claim for “non-privity” breach of implied

warranties (Compl. ¶¶ 164-73), a California plaintiff asserting breach of implied warranty “must

stand in vertical contractual privity with the defendant.” Clemens v. DaimlerChrysler Corp., 534

F.3d 1017, 1023 (9th Cir. 2018); Moncada v. Allstate Ins., 471 F. Supp. 2d 987, 998 (N.D. Cal.

2006). A buyer and seller stand in privity if they are in adjoining links of the distribution chain.

Osborne v. Subaru of Am. Inc., 198 Cal. App. 3d 646, 656 n. 6 (1988). But Plaintiffs do not allege

that they bought Roundup® products at all, much less that they bought them directly from

Monsanto or Bayer Corp. And “an end consumer … who buys from a retailer … is not in privity

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with a manufacturer.” Osborne, 198 Cal. App. 3d at 656 n.6; accord Burr v. Sherwin Williams

Co., 42 Cal.2d 682, 695 (1954). Plaintiffs’ implied warranty claim should be dismissed.

       In Count VI, for “privity” breach of implied warranty, Plaintiffs appeal to an exception for

“third-party beneficiaries.” Compl. ¶ 179. But Count VI is not brought under California law and,

even if it were, the third party beneficiary exception does not apply “in the context of a consumer

claim against a product manufacturer.” Corbett v. Pharmacare U.S., Inc., 544 F. Supp. 3d 996,

1010 (S.D. Cal. 2021) (citations omitted).

       In any event, Monsanto did not breach any implied warranties. The implied warranty of

merchantability does not “impose a general requirement that goods precisely fulfill the expectation

of the buyer. Instead, it provides for a minimum level of quality” and that the products “[a]re fit

for the ordinary purposes for which such goods are used.” Am. Suzuki Motor Corp. v. Super. Ct.,

37 Cal. App. 4th 1291, 1295-96 (1995). Plaintiffs do not and cannot contest that Roundup®

products are effective herbicides, which is their precise ordinary use. Nor do or can Plaintiffs

contest that Roundup® products are approved for sale and use as pesticides by both EPA and

California regulators. The products are merchantable, and Plaintiffs’ implied-warranty claims

must fail.
VII.   PLAINTIFFS DID NOT PLEAD THEIR FRAUD-BASED CLAIMS WITH
       PARTICULARITY.
       Counts VII, VIII, and IX assert claims for violating consumer protection laws, false
advertising, and fraudulent concealment. Compl. ¶¶ 184-210. But Plaintiffs fail to “state with

particularity the circumstances constituting” the alleged violations and alleged fraud. See Fed. R.

Civ. P. 9(b).

       Rule 9(b)’s heightened pleading standard for allegations of fraud extends to consumer-

protection and false-advertising claims “grounded in fraud.” Davidson, 889 F.3d at 964; Kearns

v. Ford Motor Co., 567 F.3d 1120, 1125 (9th Cir. 2009). Plaintiffs thus had to “state with

particularity” the factual bases for Counts VII, VIII, and IX. Compare Davidson, 889 F.3d at 964,

with Compl. ¶¶ 184-210. Plaintiffs had to “‘identify the who, what, when, where, and how of the


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misconduct charged, as well as what is false or misleading about the purportedly fraudulent

statement, and why it is false.’” Depot, Inc. v. Caring for Montanans, Inc., 915 F.3d 643, 668 (9th

Cir. 2019) (quoting Salameh v. Tarsadia Hotel, 726 F.3d 1124, 1133 (9th Cir. 2013)). Plaintiffs

instead make only generic allegations about unspecified “misleading,” “deceptive,” or “false”

statements or “material” omissions. Compl. ¶¶ 187-88, 196-97, 204.

       Here, as in Depot, Inc., Plaintiffs only “vaguely allege that defendants made []

misrepresentations ‘in the course of marketing’ [] to plaintiffs over a period a years.” Depot, Inc.,

915 F.3d at 668; Compl. ¶¶ 77, 196 (alleging that “[f]or years,” Defendants “advertis[ed] and

represent[ed]—on product labels, advertisements, and warranties—that Roundup® was safe.”).

But while they allege supposed “unethical practices,” the content of internal emails, lobbying

efforts, and participation in scientific debate, they do not specifically allege any purported false

advertisement or public statement save one—that glyphosate “targets an enzyme found in plants,

but not in people or pets.” Id. ¶ 71. And they do not allege that they even saw, much less relied

on, that statement, just as they do not allege reliance on any of the unspecified statements. See id.

¶¶ 71, 200, 207; Block v. eBay, Inc., 747 F.3d 1135, 1140 (9th Cir. 2014) (holding that the plaintiff

failed to plead reliance with the requisite specificity); Kearns, 567 F.3d at 1126 (“Kearns also

failed to specify which sales material he relied upon in making his decision to buy a CPO

vehicle.”). Indeed, Plaintiffs do not even specify which Roundup® products they used—or for

what purpose—and so there is no way to even guess how they might have relied on the alleged

statements. See Compl. ¶¶ 14-18, 22. Plaintiffs’ Complaint lacks anything close to the “who,

what, when, where, and how” required by Rule 9(b). Depot, Inc., 915 F.3d at 668.
VIII. PLAINTIFFS’ DECLARATORY RELIEF CLAIM IS DUPLICATIVE OF THEIR
      OTHER CLAIMS.
       Declaratory relief is intended to resolve uncertainties or disputes that may result in future

litigation, not to redress past wrongs. See United States v. Washington, 759 F.2d 1353, 1356-57

(9th Cir.) (en banc) (“Declaratory relief should be denied when it will neither serve a useful

purpose in clarifying and settling the legal relations in issue nor terminate the proceedings and


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afford relief from the uncertainty and controversy faced by the parties.”) Declaratory relief is thus

“unnecessary where an adequate remedy exists under some other cause of action.” Mangindin v.

Wash. Mut. Bank, 637 F. Supp. 2d 700, 707 (N.D. Cal. 2009); see also Top Agent Network, Inc. v.

Zillow, Inc., 2015 WL 7709655, at *9 (N.D. Cal. Apr. 13, 2015) (dismissing declaratory relief

claim because it was “purely duplicative” of other claims). Plaintiffs’ declaratory relief cause of

action should be dismissed because it is duplicative of their other causes of action.

        Count X seeks declaratory relief in the form of a declaration regarding “answers to the

common questions [allegedly] at the heart of this litigation.” Compl. ¶ 214. According to

Plaintiffs, these “common questions” include, for example, whether Roundup® products are unfit

for their ordinary purposes, whether marketing was misleading, and whether Roundup® products

are carcinogenic. Id. ¶ 213. But these questions are entirely duplicative of Plaintiffs’ other causes

of action. For example, Plaintiffs’ implied-warranty claim would necessarily implicate whether

Roundup® products are unfit for their ordinary purposes. Likewise, all Plaintiffs’ causes of action

would necessarily require a determination of whether the products are carcinogenic. In short, a

determination of Plaintiffs’ other causes of action would necessarily determine their rights and

afford full relief (if any relief were justified).

        Courts determining whether to entertain claims for declaratory relief must consider, among

other factors, whether the claim will settle all aspects of the controversy or serve some other useful

purpose. Top Agent Network, Inc. v. Zillow, Inc., 2015 WL 7709655, at *9 (N.D. Cal. 2015); see

Gov’t Emps. Ins. Co. v. Dizol, 133 F.3d 1220, 1225 (9th Cir. 1998). Here, neither is true. The

declaration Plaintiffs seek will not resolve their other claims, but resolving those claims will

encompass those questions. Plaintiffs’ requested declaration would thus be both useless and

duplicative, and their claim for declaratory relief should be dismissed.

                                            CONCLUSION

        For all the above reasons, the Court should grant this motion and dismiss Plaintiffs’

complaint.



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